                      Case 18-26085-RAM       Doc 17     Filed 02/11/19      Page 1 of 2




       ORDERED in the Southern District of Florida on February 11, 2019.




                                                                    Robert A. Mark, Judge
                                                                    United States Bankruptcy Court
_____________________________________________________________________________



                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

  In re:                                                          Case No. 18-26085-BKC-RAM
                                                                  Chapter 7
  BARRY DE VERTEUIL
  SSN: XXX-XX-3728

            Debtor.                       /


         ORDER GRANTING TRUSTEE, BARRY E. MUKAMAL’S EX PARTE MOTION
        FOR EMPLOYMENT OF SCOTT N. BROWN, ESQUIRE AND BAST AMRON LLP
        AS ATTORNEYS FOR THE TRUSTEE NUNC PRO TUNC TO FEBRUARY 4, 2019

             THIS CAUSE having come before the Court upon Trustee, Barry E. Mukamal’s Ex Parte

  Motion for Employment of Scott N. Brown, Esquire and Bast Amron LLP as Attorneys for the Trustee

  Nunc Pro Tunc to February 4, 2019 (ECF No. 16)(the “Motion”), and the Affidavit of Scott N.

  Brown in support thereof (the “Affidavit”), and the Court, having reviewed the Motion and the

  Affidavit, having determined that it is in the best interests of this Estate that Scott N. Brown, Esquire




  00537235.DOCX
                   Case 18-26085-RAM                  Doc 17         Filed 02/11/19           Page 2 of 2
                                                                                           Case No. 18-26085-BKC-RAM


and the law firm of Bast Amron LLP serve as attorneys to the Estate, having determined that no

hearing is necessary, and being otherwise fully advised in the premises, it is

           ORDERED as follows:

           1.       The Motion is granted.

           2.       The Trustee, Barry E. Mukamal, is authorized to employ Scott N. Brown, Esquire

and the law firm of Bast Amron LLP, nunc pro tunc to February 4, 2019, to act as attorneys for the

Trustee and the Estate, with compensation to be paid in such amounts as may be allowed by the

Court upon proper application or applications therefor.

                                                              ###
Submitted by:

Scott N. Brown, Esquire
BAST AMRON LLP
Counsel for Trustee, Barry E. Mukamal
One Southeast Third Avenue, Suite 1400
Miami, Florida 33131
Telephone: 305.379.7904
Facsimile: 305.379.7905
sbrown@bastamron.com

Copy furnished to:
Scott N. Brown, Esquire
Attorney Scott N. Brown is hereby directed to serve a copy of this Order immediately upon receipt on all interested parties.




00537235.DOCX
